                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


IN RE: PROCEDURES FOR                                          Case No. 6:20-mc-2-Orl-DCI
DISCOVERY MOTIONS


                      STANDING ORDER ON DISCOVERY MOTIONS

       In an effort “to secure the just, speedy, and inexpensive determination” of any action in

which this Order is filed, Fed. R. Civ. P. 1, it is ORDERED as follows:

       (1)      If a discovery dispute arises, the parties must confer in person or via telephone in
a good faith effort to resolve the dispute before seeking court intervention. See Local Rule 3.01(g).

       (2)     If the parties are unable to resolve the discovery dispute, a party may seek court
intervention, but must do so by filing a Short-Form Discovery Motion in compliance with this
Order. Neither the Motion nor any response thereto shall exceed 500 words, exclusive of
caption, signature block, and certifications.

       (3)     The Movant must attach to the Motion the discovery request and discovery
response (if applicable) but need not otherwise comply with Local Rule 3.04(a).

       (4)     If time-sensitive, the Motion must be filed and captioned as “expedited.”

        (5)   Any party opposing the Motion shall file a response no later than five days
after the Motion is filed (see Fed. R. Civ. P. 6(a)); a failure to file a timely response will result in
the Motion being deemed unopposed.

       (6)    To resolve the dispute, the Court may: decide the dispute on the basis of the Motion
and any response, set a hearing, or order further briefing.

       (7)     In the Motion or response, a party may request additional briefing, but such a
request must accompany, and not replace, the substantive argument.

        (8)    The parties must continue to confer concerning the dispute and must promptly
notify the Court if they resolve the Motion in whole or in part.

      (9)      If a hearing is set, the parties shall file a joint notice two days before the
hearing certifying ongoing conferral and stating which issues, if any, have been resolved.
       The Court expects all parties to act courteously and professionally in the resolution of their

discovery disputes. The Court may impose appropriate sanctions upon a finding of failure to

comply with this Order or upon a finding of other discovery misconduct.

       DONE and ORDERED in Orlando, Florida on January 2, 2020.




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